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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ATON SELECT FUND, LTD, a Republic
of Mauritius limited liability company,                                         Case No. 1:22-cv-6612

                                 Plaintiff,

            vs.

CELL SOURCE, Inc., a Nevada
Corporation, ITAMAR SHIMRAT,
PHILIP D. FORLENZA and GIORDANO
HALLERAN & CIESLA, P.C.,

                  Defendants.
_________________________________/

                                                    COMPLAINT

            Plaintiff, Aton Select Fund, Ltd. (“Aton”), files this complaint against Defendant, Cell

Source, Inc. (“Cell Source”), Itamar Shimrat (“Shimrat”), Philip D. Forlenza (“Forlenza”) and

Giordano Halleran & Ciesla, P.C.(“GHC”) and alleges as follows:

            1.            Plaintiff, Aton, is a limited liability company formed under the laws of the Republic

of Mauritius, with its principal place of business in Vaduz, Liechtenstein.

            2.            Defendant, Cell Source, is a Nevada corporation with its principal place of business

in New York, New York.

            3.            Defendant Shimrat has, at all material times, been the President and CEO of Cell

Source and, upon information and belief, is a resident of Israel.

            4.            Defendant, Forlenza, is an attorney admitted to the practice of law in New York

and New Jersey, is a partner in the law firm, GHC, and upon information and belief is a resident

of New Jersey.

            5.            Defendant, GHC, is a law firm based in New Jersey with offices in New York.

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            6.            At all relevant times, defendants, Forlenza and the firm, GHC, represented

defendant, Cell Source.

            7.            This court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)(2),

because there is complete diversity between the parties and the amount in controversy exceeds

$75,000, exclusive of interest and costs.

            8.            This court has personal jurisdiction over defendant, Shimrat, pursuant to CPLR

302(a)(1) and (a)(3) because Shimrat, on behalf of Cell Source, regularly transacts business in the

state and the claims herein arise from such transactions. Shimrat has also committed tortious acts

outside the state that has caused injury to Aton. Additionally, Cell Source and Aton agreed to the

exclusive jurisdiction in state court in New York County or in the Southern District of New York.

            9.            This court has personal jurisdiction over defendants, Forlenza and GHC, pursuant

to CPLR 301, in that they are doing business in New York, CPLR 302(a)(1) in that they regularly

transact business in New York and CPLR 302(a)(3), in that they committed tortious acts outside

the state that caused injury to Aton.

            10.           Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) because Cell

Source’s principal place of business is within this district.

                                                Factual Background

            11.           Cell Source is a publicly traded biotechnology company focused on developing cell

therapy treatments based on the management of immune tolerance.

            12.           Aton owns 360,000 shares of common stock of Cell Source (the “Shares”).

            13.           In November 2013, pursuant to a Subscription Agreement, Aton acquired shares of

Cell Source, Ltd., an Israeli subsidiary of Cell Source.



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            14.           On or about June 30, 2014, Cell Source (at the time named Ticket to See, Inc.),

entered into a Share Exchange Agreement with Cell Source, Ltd. and certain shareholders of Cell

Source, Ltd., whereby the shares of Cell Source, Ltd. held by certain shareholders, including Aton,

were exchanged for Cell Source shares including Anton’s shares. At the same time, Ticket to See,

Inc. changed its name to Cell Source.

            15.           The Shares are represented by stock certificate number 1055, dated July 3, 2014,

CUSIP No. 15114L 10 4 issued to Aton (the “Certificate”).

            16.           The Certificate contains a restrictive legend pursuant to Rule 144 of the Securities

Act of 1933 (the “Act”) which prevents the sale of the Shares in the public market.

            17.           Rule 144 of the Act provides for the removal of the stock transfer restrictions and

permits the sale of such securities if certain requirements are met.

            18.            All requirements enabling the removal of the restrictions from the Shares have

been satisfied.

            19.           Since at least September 29, 2021, repeated efforts have been made on behalf of

Aton demanding Cell Source to authorize its transfer agent to remove the restrictive legend and

permit the sale of the Shares. On September 29, 2021, January 28, 2022, and April 21, 2022,

letters (each an “Opinion Letter”) were provided to Cell Source’s transfer agent on behalf of Aton

opining that all requirements have been satisfied enabling the removal of the restrictive legends on

the Shares and permitting Aton to transfer the Shares.

            20.           Despite satisfying all necessary requirements, defendant, Shimrat, refused to

authorize Cell Source’s transfer agent to remove the restrictive legends from the Shares.

            21.           At all relevant times, Cell Source was represented by defendants, Forlenza and

GHC. On at least one occasion, Forlenza, representing Cell Source, advised a lawyer whose firm

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issued the Opinion Letters and despite being advised that of the potential liability for the wrongful

refusal to enable the transfer of the Shares, advised that he was not authorized to accept any

opinions for the transfer of the Shares and his client refused to permit the transfer.

            22.           Aton has incurred substantial damages in its inability to sell the Shares as the

market price declined since issuance of each of the Opinion Letters.

            23.           Aton is not an affiliate of Cell Source since it does not hold the power to direct the

control of Cell Source and has not held such power at any material time. As of April 11, 2022,

Cell Source’s Form 10-K filed with the Securities and Exchange Commission disclosed that it had

34,437,076 shares of common stock outstanding so Aton owned just over 1% of outstanding

common stock. Officers and directors of Cell Source were reported by the Form 10-K to own over

10%.

            24.           As a non-affiliate, one requirement of Rule 144 applies – the shareholder owned

the common stock for more than one year.

            25.           Aton has owned the Shares for almost eight years.

            26.           Rule 144(i) provides that if the issuer was formerly a shell corporation the securities may

only be sold if the issuer had filed all reports required to be filed under Section 13 of the Securities

Exchange Act of 1934 (the “Exchange Act”) except Form 8-K.

            27.           Accordingly, because there was uncertainty whether Cell Source had ever been a

shell corporation, each Opinion Letter had a “sell by” date which coincided with the date upon

which the next Exchange Act report was required to be filed.

            28.           At all relevant times, the Shares could have been sold under the Opinion Letters

since prior to the “sell by” date in each Opinion Letter, Cell Source met the requirements of Rule

144(i) assuming it had ever been a shell.

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            29.           Aton remains ready, willing and able to provide additional Opinion Letters

containing all requisite information but same would be futile as Cell Source will continue to refuse

to authorize the transfer agent to remove the restrictive legends and the deadlines inserted into

each letter would continue to expire. Further, on information and belief, the Defendants would

not permit the Shares to be sold pursuant to an Opinion Letter using Section 4(a)(1) under the Act.

            30.           Aton is ready, willing and able and hereby tenders the Shares to the transfer agent

in order to remove the restrictive legends from the Shares.

            31.           In accordance with industry practice, Cell Source’s stock transfer agent requires

confirmation from counsel for Cell Source that the Opinion Letters comply with Rule 144, or with

respect to the third Opinion Letter, Section 4(a)(1) of the Securities Act of 1933, and each was

acceptable.

            32.           There is no legitimate reason for Cell Source not to permit the Shares to have the

restrictive legend to be removed in connection with a sale.

            33.           Alternatively, the Shares can be sold under Section 4(a)(1) under the Act as a

transaction not involving an issuer, underwriter or dealer since Aton is not one of the foregoing

categories.

            34.           Upon information and belief, Defendant Itamar Shimrat controlled Cell Source’s

conduct and decisions in reference to the actions and inactions which form the basis of this action,

actively and individually participated in that conduct and advised Cell Source’s counsel,

defendants Forlenza and GHC, not to act in order to keep the Shares from being sold and

depressing the public price.




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            35.           Defendants, Forlenza and GHC, knowingly and wrongfully participated with

Shimrat in unreasonably withholding Cell Source’s authorization to its transfer agent to remove

the restrictive legend and permit the transfer of the Shares.

            36.           Defendants, Forlenza and GHC, never advised Plaintiff’s counsel that there were

any defects with any Opinion Letter.

            37.           Alternatively, if Defendants, Forlenza and GHC, were ordered by their client or a

representative of their client not to accept the Opinion Letters, they had a duty to withdraw as

counsel and not wrongfully prevent Plaintiff from selling the Cell Source Shares. Instead they

participated and aided and abetted Defendants Cell Source and Shimrat’s delay tactics.

                                                    Count I
                           Action Against Cell Source, Shimrat, Forlenza and GHC for
                                   Damages for Wrongful Refusal to Transfer

            38.           Aton repeats and realleges the allegations of paragraphs 1 through 37 as though

fully set forth herein.

            39.           This is an action for damages due to the unjustified refusal by Defendants to instruct

Cell Source’s transfer agent to remove the restrictive legends from the Shares.

            40.           All requirements to enable the restrictive legends to be removed from the Shares

have been satisfied.

            41.           Repeated demands have been made on behalf of Aton to Cell Source’s transfer

agent to remove the restrictive legend from the Shares, but the transfer agent requires approval

from Cell Source. Defendants, Shimrat, Forlenza and GHC, unjustifiably refused for Cell Source

to authorize the removal the restrictive legends from the Shares.

            42.           As a result of the foregoing, Aton has been and continues to incur damages due to

Defendants’ improper conduct as the market price for the Shares has continued to decline.

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            WHEREFORE, Plaintiff, Aton Select Fund, Ltd., demands that judgment be entered in its

favor and against Defendants, Cell Source, Inc., Itamar Shimrat, Philip D. Forlenza and Giodano

Halleran & Ciesla, P.C., jointly and severally for damages, together with costs and prejudgment

interest.

                                          Count II
    Action Against Cell Source, Shimrat, Forlenza and GHC, for Damages for Conversion

            43.           Aton repeats and realleges the allegations of paragraphs 1 through 37 as though

fully set forth herein.

            44.           This is an action for damages due to the conversion of the Shares.

            45.           Aton is the owner of the Shares and is entitled to ownership of same without the

restrictive legends.

            46.           Cell Source, Shimrat, Forlenza and GHC, have intentionally and without authority

exercised control over the Shares and Aton’s right to the Shares without the restricted legend,

interfering with and preventing Aton’s right to possession of same.

            47.           All requirements to enable the restrictive legends to be removed from the Shares

have been satisfied.

            48.           Repeated demands have been made on behalf of Aton to Cell Source’s transfer

agent to remove the restrictive legends from the Shares, but defendants, Shimrat, Forlenza, GHC,

and Cell Source are preventing the transfer agent from removing the restrictive legend.

            49.           As a result of the foregoing, Aton has been and continues to incur damages due to

the Defendants’ improper conduct as the market price for the Shares has continued to decline.

            WHEREFORE, Plaintiff, Aton Select Fund, Ltd., demands that judgment be entered in its

favor and against Defendants, Cell Source, Inc., Itamar Shimrat, Philip D. Forlenza and Giordano


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Halleran & Ciesla, P.C., jointly and severally for damages, together with costs and prejudgment

interest.

                                                      Count III
                                          Action for Declaratory Judgment

            50.           Aton repeats and realleges the allegations of paragraphs 1 through 37 as though

fully set forth herein.

            51.           This is an action for declaratory judgment pursuant to 28 U.S.C. § 2201 for the

purpose of determining a question in actual controversy between the parties as to whether the

restrictive legend on the Shares should be removed permitting the Shares to be freely transferred

or sold.

            52.           Aton has met all requirements under the Act, including Rule 144, enabling the

restrictive legends on the Shares to be removed, thus enabling Aton to sell the Shares free and

clear of any restrictions.

            53.           Despite being provided repeated opinions on behalf of Aton as to the compliance

with all requirements to remove the restrictive legends from the Shares, Cell Source refuses to

instruct its transfer agent to remove the restrictive legends from the Shares and permit the Shares

to be sold or transferred.

            54.           The parties require court intervention to resolve this dispute.

            WHEREFORE, Plaintiff, Aton Select Fund, Ltd., demands that a declaratory judgment be

entered in its favor and against Defendant, Cell Source, Inc., finding that all requirements have

been met enabling the restrictive legends to be removed from the Shares, that Cell Source be

required to instruct its transfer agent to remove the restrictive legends from the Shares, permit the




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Shares to be freely transferred and sold and grant preliminary and permanent injunctive relief and

such other and further relief as may be proper.



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